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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                         8:06CR214
                                    )
            v.                      )
                                    )
JOSE RAMIREZ-SOLANO,                )                 PRELIMINARY ORDER
                                    )                 OF FORFEITURE
                  Defendant.        )
____________________________________)


               This matter is before the Court upon the United States' Motion for Issuance of

Preliminary Order of Forfeiture and Memorandum Brief (Filing No. 70). The Court has

reviewed the record in this case and finds as follows:

               1. Defendant has entered into a Plea Agreement, whereby he has agreed to plead

guilty to Counts I and IV of said Superseding Indictment. Count I of said Superseding

Indictment charges the defendant with conspiracy to distribute methamphetamine, a violation of

21 U.S.C. § 846. Count IV of said Superseding Indictment charges the defendant with using a

2000 GMC, VIN 1GKDT13W4Y2138983, to facilitate the commission of the conspiracy and

charges said personal property is derived from proceeds obtained directly or indirectly as a result

of the commission of the conspiracy.

               2. By virtue of said plea of guilty, the defendant forfeits his interest in the subject

property, and the United States should be entitled to possession of said property, pursuant to

21 U.S.C. § 853.

               3. The United States' Motion for Issuance of Preliminary Order of Forfeiture

should be sustained.
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                IT IS ORDERED:

                A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is

hereby sustained.

                B. Based upon Count IV of the Superseding Indictment and the defendant's plea

of guilty, the United States Bureau of Alcohol, Tobacco and Firearms ("ATF") is hereby

authorized to seize the following-described property:

                        a 2000 GMC, VIN 1GKDT13W4Y2138983.

                C. Defendant's interest in said property is hereby forfeited to the United States of

America for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n)(1).

                D. The aforementioned forfeited property is to be held by ATF in its secure

custody and control.

                E. Pursuant to 21 U.S.C., § 853(n)(1), the United States forthwith shall publish at

least once for three successive weeks in a newspaper of general circulation, in the county where

the subject property is situated, notice of this Order, notice of the United States’ intent to dispose

of the property in such manner as the Attorney General may direct, and notice that any person,

other than the defendant, having or claiming a legal interest in any of the subject forfeited

property must file a Petition with the court within thirty (30) days of the final publication of

notice or of receipt of actual notice, whichever is earlier.

                F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the petitioner's alleged interest in the property,

shall be signed by the petitioner under penalty of perjury, and shall set forth the nature and extent


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of the petitioner's right, title or interest in the subject property and any additional facts supporting

the petitioner's claim and the relief sought.

                G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the property subject to this Order as a

substitute for published notice as to those persons so notified.

                H. Upon adjudication of all third-party interests, this Court will enter a Final

Order of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

                DATED this 17th day of November, 2006.

                                                BY THE COURT:

                                                /s/ Lyle E. Strom

                                                LYLE E. STROM, SENIOR JUDGE
                                                United States District Court




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